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                                August 26, 2022

Hon. Carl J. Nichols
U.S. District Court for the District of Columbia
E. Barrett Prettyman United States Courthouse
333 Constitution Ave., NW
Washington, DC 20001

       RE:    Nos. 1:21-cv-00445, 1:21-cv-00040, 1:21-cv-00213

Dear Judge Nichols:
This letter is filed pursuant to the August 26, 2022, instruction of the
courtroom deputy. Though this letter is signed only by counsel for
Defendants My Pillow, Inc. and Michael Lindell, the below text was
approved for joint submission by counsel for the Dominion, Powell,
Defending the Republic, Lindell, and MyPillow Parties:


Per Your Standing Order (at 5 ¶ 11), the parties jointly submit this email
communication to alert the Court to a dispute over a few terms of the        ANDREW D. PARKER
                                                                             CHRISTOPHER M. DANIELS
protective order for these consolidated cases. As background, the parties
                                                                             JESSE H. KIBORT
have met and conferred multiple times over several months on the various
                                                                             ELIZABETH S. WRIGHT
provisions of the order, and have reached agreement to most of the terms.
                                                                             ALEC J. BECK
A short description of the remaining disagreements the parties would like
                                                                             LORI A. JOHNSON
to raise with the Court follows:
                                                                             JOSEPH A. PULL
                                                                             RYAN P. MALONE
                                                                             JORDON A. GREENLEE
                                                                             ABRAHAM S. KAPLAN
                                                                             GREGORY N. ARENSON
                                                                             REGINALD W. SNELL


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 Disputed Item             Plaintiffs’ Position                 Defendants’ Position
 Extent to which           The protective order should          The protective order
 protective order          include a provision that prohibits   should apply only to
 governs material          the parties from using any           material produced in the
 produced in the case      discovery material from the          case by the parties and
                           litigation outside the litigation,   that is categorized in good
                           except as provided in the            faith as confidential or
                           protective order. The order          attorneys’ eyes only
                           should also apply to discovery
                           materials produced from third
                           parties.
 Standard for              Material can be designated           Material can be
 designating material as   attorneys’ eyes only if it is        designated attorneys’ eyes
 attorneys’ eyes only      substantially likely to cause        only if it is likely to cause
                           injury                               substantial injury
 Restrictions on hiring    No current or former Plaintiffs’     Defendants should be
 experts who were          employee subject to a non-           permitted to retain a
 formerly Plaintiffs’      disclosure agreement may be          former Plaintiffs’
 employees                 retained as a defense expert         employee if that person is
                                                                no longer subject to
                                                                restriction against being
                                                                employed by a competitor
 Standard for              The Court has discretion to          Sanctions will not be
 determining violation     award sanctions for a violation      imposed for unintentional
 of the protective order   of the protective order              violations of the
                                                                protective order.


A copy of the protective order proposed by the parties are attached for the Court’s review.
We stand at the Court’s convenience to address these issues.

                                          Respectfully,

                                          /s/ Andrew D. Parker

                                          Andrew D. Parker
